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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

DEBORA COBB,                              )
                                          )
            Plaintiff,                    )
                                          ) CASE NO: 3:17-cv-01629-VLB
v.                                        )
                                          )
ENHANCED RECOVERY COMPANY,                )
LLC,                                      )
                                          )
            Defendant.                    )
                                          )


              DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

      COMES NOW Defendant, Enhanced Recovery Company, LLC (“ERC” or

“Defendant”) by and though undersigned counsel, hereby files this Motion for

Summary Judgment pursuant to Federal Rule of Civil Procedure 56 and Local

Rule 56.1, and respectfully moves this Court to enter an Order Granting Summary

Judgment in favor of Defendant.

DATED: June 14, 2018.

                                    SMITH, GAMBRELL & RUSSELL, LLP

                                    /s/ Scott S. Gallagher
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                                    and
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                             CERTIFICATE OF SERVICE

      I hereby certify that on June 14, 2017, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system, which will send a notice

of electronic filing to the following:

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                                                     /s/   Scott S. Gallagher
                                                           Attorney
